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                                                  11                               UNITED STATES DISTRICT COURT

                                                  12                              NORTHERN DISTRICT OF CALIFORNIA
              101 CALIFORNIA STREET, SUITE 3800




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                    SAN FRANCISCO, CA 94111
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                                                  14   FEDERAL TRADE COMMISSION                        Case No. 23-cv-02880-JSC
                         415.653.3750




                                                  15                 Plaintiff,                        NON-PARTY NINTENDO OF AMERICA
                                                                                                       INC. UNOPPOSED MOTION FOR
                                                  16          v.                                       ORDER CHANGING TIME

                                                  17   MICROSOFT CORPORATION, et al.

                                                  18                 Defendant.

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                                                               NON-PARTY NINTENDO OF AMERICA INC. MOTION FOR ORDER CHANGING TIME
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 1   I.        INTRODUCTION
 2             Pursuant to N.D. Cal. Civil Local Rule 6-3 (“Civil L.R.”), Non-Party Nintendo of
 3   America Inc. (“NOA”) respectfully requests an extension of time to file its statement and/or
 4   declaration in accordance with Civil L.R. 79-5(f). Plaintiff Federal Trade Commission (“FTC”)
 5   and Defendants Microsoft Corp. and Activision Blizzard Inc. (collectively, “Defendants”) have
 6   indicated that they do not oppose this request.
 7   II.       BACKGROUND
 8             Pursuant to this Court’s previous order, by June 20, 2023 at noon, the parties were
 9   instructed to file a Joint Statement listing out each exhibit the parties intended to offer at the
10   upcoming preliminary injunction evidentiary hearing set to begin June 22, 2023, and where on
11   the docket the Court could locate the related Civil L.R. 79-5 statement and/or declaration. (Dkt.
12   No. 76). Plaintiff sent a letter on June 18, 2023, via email at 9:52 pm ET, informing non-party
13   NOA that it anticipated using certain NOA documents and testimony as exhibits at the upcoming
14   hearing. Defendants sent a similar email on June 19, 2023, via email at 10:15 pm ET, informing
15   NOA of their intent to use additional NOA documents for the same purpose. Those exhibits will
16   include documents that NOA has previously produced to the FTC as part of its investigation and
17   subsequent Part 3 litigation administrative proceeding regarding Defendant Microsoft Corp.’s
18   proposed acquisition of Defendant Activision Blizzard, Inc. NOA has previously designated all
19   the exhibits in question as confidential pursuant to FTC Rules governing investigations and a
20   Protective Order entered by the FTC Administrative Law Judge in the Part 3 proceedings. (FTC
21   Dkt. No. 9412, Doc. No. 606385, Dec. 9, 2022).
22   III.      ARGUMENT
23             When a party wishes to file a document that has been designated as confidential by
24   another party or non-party, the filing party must file an Administrative Motion to Consider
25   Whether Another Party’s Material Should Be Sealed. Civil L.R. 79-5(f). The designating party
26   typically has seven (7) days to file a statement and/or declaration stating its position in response.
27   That time frame has been compressed given the briefing and hearing schedule for the FTC’s
28   motion for a preliminary injunction.

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 1           NOA’s counsel received Plaintiff’s letter related to this matter late Sunday evening
 2   before the federal holiday on Monday, and Defendants’ email late Monday evening. Since then,
 3   NOA has worked expeditiously to review the documents at issue and prepare briefing for this
 4   Court. However, due to numerous factors, in order to comply with the accelerated schedule for
 5   these proceedings, non-party NOA requires additional time to review the FTC’s proposed
 6   exhibits and determine what documents, in whole or in part, NOA will request to remain under
 7   seal.
 8           First, the day following NOA’s receipt of Plaintiff’s letter and the day of receipt of
 9   Defendants’ email, June 19, 2023, was Juneteenth, a federal holiday. Second, key NOA in-house
10   counsel are currently traveling internationally, creating a significant time difference between
11   NOA’s counsel in the United States.
12           Finally, in order to keep NOA’s request for sealing as narrow as possible, NOA will need
13   to review and identify specific portions of those documents which NOA will seek sealing for.
14   Two of those documents are lengthy deposition transcripts that Plaintiff intends to use at the
15   hearing. Defendants have indicated that they will disclose their hearing designations of those
16   transcripts to NOA today, and seek Plaintiff’s counter-designations by Wednesday. Plaintiff has
17   indicated its intent to introduce the entirety of the transcripts as exhibits – not excerpted portions
18   of the testimony – necessitating a line-by-line review. Therefore, (i) for the designated and
19   counter-designated portions of the transcripts, NOA requests a slightly longer extension, to
20   Monday, June 26, 2023, 5 pm PT, and (ii) for the entirety of the deposition transcripts, NOA
21   requests an extension to Tuesday, June 27, 2023, 5 pm PT.
22           When NOA files its Civil L.R. 79-5 statement and/or declaration, NOA will include for
23   the Court an exhibit list with annotations describing the exhibits at issue.
24           Lastly, on June 19 and 20, 2023, counsel for NOA conferred with counsel for Plaintiff
25   Defendants, all of whom indicated that they do not oppose the relief sought in this motion.
26   IV.     CONCLUSION
27           For the foregoing reasons, non-party NOA respectfully requests the Court (i) enter a one-
28   day deadline extension for NOA to file its Civil L.R. 79-5(f) statement and/or declaration for

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 1   documents that are not deposition transcripts, to June 21, 2023, 5:00 PM PT (PX3066, PX3161,
 2   PX3219, PX3221, PX3270, and PX8002 as identified in Plaintiff’s letter to NOA; and RX2001,
 3   RX2002, RX2040, RX2058, RX2065, RX2089, RX2096, RX2104, RX2106, RX2108, RX2109,
 4   RX2111, RX2116, RX2124, RX2125, RX2126 and RX2127 as identified in Defendants’ email
 5   to NOA); (ii) enter a six-day deadline extension for NOA to file its Civil L.R. 79-5(f) statement
 6   and/or declaration for the portion(s) of any deposition transcripts designated and/or cross-
 7   designated by the parties, to June 26, 2023, 5:00 pm PT; and (iii) enter a seven-day deadline
 8   extension for NOA to file its Civil L.R. 79-5(f) statement and/or declaration for the entirety of
 9   the deposition transcripts identified on Plaintiff’s exhibits list, to June 27, 2023, 5:00 pm PT
10   (PX7059 and PX7065 as identified in Plaintiff’s letter to NOA).
11    Dated: June 20, 2023                                  VENABLE LLP
12
                                                                    /s/ Steven E. Swaney
13                                                   By:         Steven E. Swaney
                                                                 Leonard L. Gordon (pro hac vice
14                                                               application forthcoming)
                                                                 Benjamin P. Argyle (pro hac vice
15                                                               application forthcoming)
                                                            Attorneys for Non-Party Nintendo of
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                                                            America, Inc.
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